                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                              DOCKET NO. 3:13-cr-00056-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )
Vs.                                             )                       ORDER
                                                )
RUBEN PEREZ-RUIZ,                               )
                                                )
               Defendant(s).                    )



       THIS MATTER is before the court on defendant’s Motion for Contact Visit. Counsel

for defendant has not pointed the court to any provision of law that would allow it to grant the

relief sought. Indeed, the United States Marshal and his designees are solely responsible for the

housing of pretrial detainees as well as the manner in which a detainee may visit or have contact

with family members. Having considered defendant’s motion and reviewed the pleadings, the

court enters the following Order.

                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Contact Visit (#105) is

DENIED as non-justiciable.




             Signed: July 15, 2013




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